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           EXHIBIT F
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Subject: Re: Draft Op Ed for Hill VERSION 2
From: Person D1
Date: 3/1/13, 10:35 AM
To: Paul Manafort <pmanafort@
CC: Rick Gates <rgates@                 Person D2
Person A            @dmpint.com>

Thanks

Sent from my iPad

On Mar 1, 2013, at 15:05, Paul Manafort <pmanafort@                            wrote:


  This is precisely what we need. Almost a waste not to use this on the FT, NYT, WSJ, WP,
  caliber newspapers….
  P 

  From: Person D1

  Date: Friday, March 1, 2013 8:30 AM
  To: Paul manafort <pmanafort@                          Rick Gates <rgates@                  D2
                                     , Person A
  Subject: Draft Op Ed for Hill VERSION 2

  Here we go. Hope this does the trick a bit better.

  From: Paul Manafort <pmanafort@
  To: Person D1                    Rick Gates <rgates@      Person D2                         Person A
            @dmpint.com>
  Sent: Friday, 1 March 2013, 13:14
  Subject: Re: Draft Op Ed for Hill

  Person D1



  I don’t like the tone of this op ed.
  The message is the right message but at this time it is too partisan for     It will damage his
  "non-partisan" image.
  The problem with the op ed is that it contains all of our core messages. It could be given by VY of the
  Foreign MInister.
  This op ed should be more focused and narrow.
  I recommend that you re-write it from the standpoint of Europe with the theme of Ukraine's
  importance to Europe as a part of the security umbrella provided by NATO. The messages can include
  energy security as well as continental defense.
  The piece should be more macro focusing on the big themes and the importance of Ukraine in those
  themes.
  P

  From: Person D1
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Reply-To:
Date: Friday, March 1, 2013 7:03 AM
To: Rick Gates <rgates@                 Paul manafort <pmanafort@
Person D2                        , Person A
Subject: Draft Op Ed for Hill

Dear Rick

Here is the draft op ed for    you requested. Please make sure he reads the final
version and approves before it is sent. So far I have not contacted him, because you
asked for a draft op ed by 3 pm.

Best
